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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11    K.E.B.,                                         Case No. 2:19-cv-09501-SHK
12                                 Plaintiff,
13                       v.
                                                      JUDGMENT
14    ANDREW M. SAUL, Commissioner of
      Social Security,
15
                                   Defendant.
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17
18         It is the judgment of this Court that the Social Security Commissioner’s
19   decision is REVERSED and this case is REMANDED to the Social Security
20   Administration for further proceedings consistent with this Court’s Order.
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     DATED: 8/28/2020               ________________________________
24                                  HONORABLE SHASHI H. KEWALRAMANI
25                                  United States Magistrate Judge
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